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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------x
 In re:                                                            Chapter 7

 TRANSCARE CORPORATION, et al.,                                    Case No.: 16-10407 (SMB)
                                                                   (Jointly Administered)
                   Debtors.
 --------------------------------------------------------------x
 In re:                                                            Chapter 7

 TC AMBULANCE CORPORATION,                                         Case No.: 16-11058 (SMB)

                            Debtor.
 --------------------------------------------------------------x
 In re:                                                            Chapter 7

 TC HUDSON VALLEY AMBULANCE CORP.,                                 Case No.: 16-11059 (SMB)

                            Debtor.
 --------------------------------------------------------------x
           AMENDED ORDER FURTHER EXTENDING CHAPTER 7 TRUSTEE’S
        AUTHORIZATION TO OPERATE THE DEBTORS’ BUSINESSES AND PAY
                    CERTAIN OPERATING EXPENSES OF THESE ESTATES

         Upon the ex parte application dated June 21, 2016 (the “Application”) of Salvatore

 LaMonica, as Chapter 7 Trustee (the “Trustee”) of the jointly-administered estates of TransCare

 Corporation, et al. (the “Initial Debtors”) and as Chapter 7 Trustee of TC Ambulance

 Corporation and TC Hudson Valley Ambulance Corp. (the “Additional Debtors” and, together

 with the Initial Debtors, the “Debtors”), seeking the entry of an Order further extending the

 Trustee’s authorization under the Order, pursuant to 11 U.S.C. §§105(a) and 721, Authorizing

 the Chapter 7 Trustee to Operate the Debtors’ Businesses and Pay Certain Operating Expenses of

 these Estates entered on March 25, 2016 [dkt. no. 51] (the “721 Order”) (from June 24, 2016 to

 September 22, 2016 (without prejudice to seek further extensions of such authority); and the

 Court having jurisdiction to consider the Application and the relief requested therein in

 accordance with 28 U.S.C. §§ 157 and 1334; and consideration of the Application and the relief
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 requested therein being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being

 proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having found

 and determined that the relief sought in the Application is in the best interests of the Debtors,

 their estates, their creditors and all parties in interest, and that the legal and factual bases set forth

 in the Application establish just cause for the relief granted herein; and after due deliberation and

 sufficient cause appearing therefore, it is hereby:

         ORDERED, that the Application is granted and, in order to effectuate an orderly wind

 down of the Debtors’ businesses and to preserve the value of the Debtors’ assets, the Trustee is

 authorized to, as necessary and in coordination with the Department of Health and pursuant to

 New York State law, continue to operate and/or designate an operator to maintain certain

 Ambulance Service Certificates issued by the New York State Department of Health and to pay

 reasonable and necessary expenses required in connection therewith for an interim period

 through and including September 22, 2016, without prejudice to the Trustee to seek further

 extensions of such authority; and, it is further

         ORDERED, that the Trustee is authorized to turn over and pay to Wells Fargo Bank N.A.

 (“Wells Fargo”) any and all payments, collections or proceeds that are received by the Debtors’

 estates that are subject to Wells Fargo’s applicable liens in and to the Debtors’ accounts

 receivables as previously set forth in the 721 Order; and, it is further

         ORDERED, that stay relief is granted, as provided for in Bankruptcy Code §§ 362 and

 363, to allow Wells Fargo, the secured lender and depository bank for each of the Debtors, to

 apply all funds at any time deposited or held in any of the Debtors’ Accounts (defined below)

 against all outstanding indebtedness owing by any Debtor to Wells Fargo, and the Trustee

 releases any and all claims in and to the funds at any time held or deposited in the Debtors’
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 Accounts. For purposes of this Order, and without limiting or modifying any rights of Wells

 Fargo under any other order of this Court or otherwise, the term “Debtors’ Accounts” as used in

 this Order shall mean the following accounts: (i) Case No. 16-11059 TC Hudson Valley

 Ambulance Corp. bank account at Wells Fargo Bank, N.A. identified by account number ending

 in 5339; and (ii) Case No. 16-11058 TC Ambulance Corporation bank account at Wells Fargo

 Bank, N.A. identified by account number ending in 5388; and, it is further

         ORDERED that the Trustee is authorized and empowered to expend such funds and

 execute and deliver any and all documents as are reasonably necessary to implement the terms of

 this Order; and, it is further

         ORDERED, that this Court shall retain jurisdiction to hear and determine all matters

 arising from the implementation of this Order.



 Dated: September 2, 2016
       New York, New York                                   /s/ STUART M. BERNSTEIN
                                                            Hon. Stuart M. Bernstein
                                                            United States Bankruptcy Judge
